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      1   JOHN L. BURRIS, Esq./ State Bar #69888
          ADANTE D. POINTER, Esq./State Bar #236229
      2   LAW OFFICES OF JOHN L. BURRIS
          Airport Corporate Centre
      3   7677 Oakport Street, Suite 1120
          Oakland, California 94621
      4   Telephone: (510) 839-5200
          Facsimile: (510) 839-3882
      5
          Attorneys for Plaintiffs
      6

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      8

      9                                    UNITED STATES DISTRICT COURT
     10                              FOR THE EASTERN DISTRICT OF CALIFORNIA
     11

     12   TIMOTHY C. NELSON,                                       No. 2:05-cv-1193-MCE-KJM
     13
                         Plaintiffs,
     14                                                            STIPULATION AND ORDER TO EXTEND
                 v.
                                                                   EXPERT DISCLOSURE CUT-OFF
     15
          CITY OF DAVIS, et al.,
     16
                         Defendants.
     17                                                    /
     18

     19
                 Certificate of Disclosure:
     20

     21          COME NOW all parties and submit this Stipulation and Proposed Order to Extend Expert

     22   Disclosure Cut-Off. The parties stipulate and respectfully request that the Expert Disclosure Cut-Off
     23
          date set by this court for September 5, 2006 be reset to September 22, 2006. The certified court
     24
          reporter that recorded several key depositions taken during the course of fact-discovery has yet to
     25
          produce the transcripts for the aforementioned depositions. It is anticipated that these transcripts will
     26

     27   be tendered to all parties by September 6, 2006 with each party giving relevant transcripts to their

     28   respective experts for review.




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      1            As a result, both parties and their retained experts need additional time to receive and review
      2
          the deposition transcripts. Therefore, good cause being shown all parties stipulate and respectfully
      3
          request that the Expert Disclosure Cut-Off date set by this court for September 5, 2006 be reset to
      4

      5
          September 22, 2006.

      6
          Dated:                  , 2006                           The Law Offices of John L. Burris
      7                                                            ________/s/ Adanté Pointer_________
                                                                   Adanté D. Pointer, Esq.
      8
                                                                   Attorneys for Plaintiff TIMOTHY NELSON
      9

     10
          Dated:                  , 2006                           Angelo, Kilday, Kilduff LLP
     11                                                            ________/s/ Doug Thorn
                                                                   Douglas Thorn, Esq.
     12
                                                                   Attorneys for Defendant CITY OF DAVIS,
     13                                                            HYDE, WILSON & MASON

     14
          Dated:                  , 2006                           Wilke, Fleury, Hoffelt, Gould &
     15                                                            Birney, LLP
     16
                                                                   __     /s/    Kelli Kennaday_______
                                                                   Kelli Kennaday, Esq.
     17                                                            Attorneys for Defendant CALVIN CHANG
     18   Dated:                  , 2006                           Gordon & Rees
     19
                                                                   _____/s/    Mark Posard_____________
                                                                   Mark Posard, Esq.
     20                                                            Attorneys for Defendant HANDY, BARAGAN
                                                                   & GARCIA
     21

     22            IT IS SO ORDERED.

     23   DATE: September 7, 2006
     24

     25
                                                        ______________________________
     26
                                                        MORRISON C. ENGLAND, JR.
     27                                                 UNITED STATES DISTRICT JUDGE

     28




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